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                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE WESTERN DISTRICT OF TEXAS
                                        AUSTIN DIVISION

    COMMODITY FUTURES                   TRADING
    COMMISSION,

                   Plaintiff,

    v.

    JONATHAN CARTU, RYAN MASTEN,                                         1:20-CV-908-RP
    LEEAV PERETZ, NATI PERETZ, BLUE
    MOON INVESTMENTS, LTD., AND
    BAREIT MEDIA LLC D/B/A
    SIGNALPUSH

                   Defendants.




              ANSWER AND AFFIRMATIVE DEFENSES OF DEFENDANT JONATHAN
                                   CARTU

         Defendant Jonathan Cartu (“Cartu”) by way of answer to the First Amended Complaint,

dated March 3, 2023, Dkt. No. 93 (the “FAC”) of Plaintiff Commodity Futures Trading

Commission (“CFTC”), hereby states as follows:

                                                I.     SUMMARY1

         1.       Denied.

         2.       Cartu denies the allegations of paragraph 2 as it relates to Cartu. Cartu denies

knowledge and information sufficient to respond to the remaining allegations in paragraph 2.

         3.       Cartu denies the allegations of paragraph 3 as it relates to Cartu. Cartu denies

knowledge and information sufficient to respond to the remaining allegations in paragraph 3.


1
 Cartu uses the headings set forth in the FAC solely for the Court’s ease of reference. Cartu denies the allegations
contained in the headings unless expressly admitted.

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       4.       Cartu denies knowledge or information sufficient to respond to the allegations in

paragraph 4.

       5.       Cartu denies the allegations of paragraph 5 as it relates to Cartu. Cartu denies

knowledge and information sufficient to respond to the remaining allegations in paragraph 5.

       6.       Cartu denies the allegations of paragraph 6 as it relates to Cartu. Cartu denies

knowledge and information sufficient to respond to the remaining allegations in paragraph 6.

       7.       Cartu denies the allegations of paragraph 7 as it relates to Cartu. Cartu denies

knowledge and information sufficient to respond to the remaining allegations in paragraph 7.

       8.       Cartu denies the allegations of paragraph 8 as it relates to Cartu. Cartu denies

knowledge and information sufficient to respond to the remaining allegations in paragraph 8.

       9.       Cartu denies the allegations of paragraph 9 as it relates to Cartu. Cartu denies

knowledge and information sufficient to respond to the remaining allegations in paragraph 9.

             a. Cartu denies the allegations of paragraph 9(a) as it relates to Cartu. Cartu denies

                knowledge and information sufficient to respond to the remaining allegations in

                paragraph 9(a).

             b. Cartu denies the allegations of paragraph 9(b) as it relates to Cartu. Cartu denies

                knowledge and information sufficient to respond to the remaining allegations in

                paragraph 9(b).

             c. Cartu denies the allegations of paragraph 9(c) as it relates to Cartu. Cartu denies

                knowledge and information sufficient to respond to the remaining allegations in

                paragraph 9(c).

       10.      Cartu denies knowledge and information sufficient to respond to the remaining

allegations in paragraph 10.



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       11.     Cartu denies the allegations of paragraph 11 as it relates to Cartu. Cartu denies

knowledge and information sufficient to respond to the remaining allegations in paragraph 11.

       12.     Cartu denies the allegations of paragraph 12 as it relates to Cartu. Cartu denies

knowledge and information sufficient to respond to the remaining allegations in paragraph 12.

                               II.   JURISDICTION AND VENUE

       13.     Cartu denies knowledge and information sufficient to respond to the remaining

allegations in paragraph 13.

       14.     Cartu denies knowledge and information sufficient to respond to the remaining

allegations in paragraph 14.

                                       III.      PARTIES

       15.     Admitted.

A.     Individual Defendants

       16.     Admitted that Cartu was born in 1983, is a Canadian citizen, and resided in Israel

during the Relevant Period. Otherwise, denied.

       17.     Cartu denies knowledge and information sufficient to respond to the remaining

allegations in paragraph 17.

       18.     Cartu denies knowledge and information sufficient to respond to the remaining

allegations in paragraph 18.

       19.     Cartu denies knowledge and information sufficient to respond to the remaining

allegations in paragraph 19.

B.     Corporate Defendants

       20.     Cartu denies the allegations of paragraph 20 as it relates to Cartu. Cartu denies

knowledge and information sufficient to respond to the remaining allegations in paragraph 20.



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       21.     Cartu denies the allegations of paragraph 21 as it relates to Cartu. Cartu denies

knowledge and information sufficient to respond to the remaining allegations in paragraph 21.

C.     Related Entities and Fictitious Binary Brands

       22.     Cartu denies the allegations of paragraph 22 as it relates to Cartu. Cartu denies

knowledge and information sufficient to respond to the remaining allegations in paragraph 22.

       23.     Cartu denies the allegations of paragraph 23 as it relates to Cartu. Cartu denies

knowledge and information sufficient to respond to the remaining allegations in paragraph 23.

       24.     Cartu denies the allegations of paragraph 24 as it relates to Cartu. Cartu denies

knowledge and information sufficient to respond to the remaining allegations in paragraph 24.

       25.     Cartu denies knowledge and information sufficient to respond to the remaining

allegations in paragraph 25.

       26.     Cartu denies the allegations of paragraph 26 as it relates to Cartu. Cartu denies

knowledge and information sufficient to respond to the remaining allegations in paragraph 26.

       27.     Cartu denies the allegations of paragraph 27 as it relates to Cartu. Cartu denies

knowledge and information sufficient to respond to the remaining allegations in paragraph 27.

       28.     Cartu denies the allegations of paragraph 28 as it relates to Cartu. Cartu denies

knowledge and information sufficient to respond to the remaining allegations in paragraph 28.

       29.     Cartu denies the allegations of paragraph 29 as it relates to Cartu. Cartu denies

knowledge and information sufficient to respond to the remaining allegations in paragraph 29.

       30.     Cartu denies the allegations of paragraph 30 as it relates to Cartu. Cartu denies

knowledge and information sufficient to respond to the remaining allegations in paragraph 30.

       31.     Cartu denies the allegations of paragraph 31 as it relates to Cartu. Cartu denies

knowledge and information sufficient to respond to the remaining allegations in paragraph 31.



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                             IV.    STATUTORY BACKGROUND

A.     Prohibition Against Off-Exchange Options Trading

       32.      Cartu denies knowledge and information sufficient to respond to the allegations in

paragraph 32.

       33.      Cartu denies knowledge and information sufficient to respond to the allegations in

paragraph 33.

B.     Prohibitions Against Fraud

       34.      Cartu denies knowledge and information sufficient to respond to the allegations in

paragraph 34.

         i.     Options Fraud

       35.      Cartu denies knowledge and information sufficient to respond to the allegations in

paragraph 35.

       36.      Cartu denies knowledge and information sufficient to respond to the allegations in

paragraph 36.

        ii.     Swaps Fraud

       37.      Cartu denies knowledge and information sufficient to respond to the allegations in

paragraph 37.

       38.      Cartu denies knowledge and information sufficient to respond to the allegations in

paragraph 38.

C.     Regulation Requirements

       39.      Cartu denies knowledge and information sufficient to respond to the allegations in

paragraph 39.




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       40.      Cartu denies knowledge and information sufficient to respond to the allegations in

paragraph 40.

       41.      Cartu denies knowledge and information sufficient to respond to the allegations in

paragraph 41.

       42.      Cartu denies knowledge and information sufficient to respond to the allegations in

paragraph 42.

                                           V.    FACTS

A.     Overview of Binary Options and Relevant Terms

       43.      Cartu denies knowledge and information sufficient to respond to the allegations in

paragraph 43.

       44.      Cartu denies knowledge and information sufficient to respond to the allegations in

paragraph 44.

       45.      Cartu denies knowledge and information sufficient to respond to the allegations in

paragraph 45.

       46.      Cartu denies knowledge and information sufficient to respond to the allegations in

paragraph 46.

       47.      Cartu denies knowledge and information sufficient to respond to the allegations in

paragraph 47.

       48.      Cartu denies knowledge and information sufficient to respond to the allegations in

paragraph 48.

B.     Overview of the Cartu Enterprise

       49.      Cartu denies the allegations of paragraph 49 as it relates to Cartu. Cartu denies

knowledge and information sufficient to respond to the remaining allegations in paragraph 49.



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       50.      Cartu denies the allegations of paragraph 50 as it relates to Cartu. Cartu denies

knowledge and information sufficient to respond to the remaining allegations in paragraph 50.

       51.      Cartu denies knowledge and information sufficient to respond to the allegations in

paragraph 51.

       52.      Cartu denies the allegations of paragraph 52 as it relates to Cartu. Cartu denies

knowledge and information sufficient to respond to the remaining allegations in paragraph 52.

       53.      Cartu denies knowledge and information sufficient to respond to the allegations in

paragraph 53.

       54.      Cartu denies the allegations of paragraph 54 as it relates to Cartu. Cartu denies

knowledge and information sufficient to respond to the remaining allegations in paragraph 54.

       55.      Cartu denies the allegations of paragraph 55 as it relates to Cartu. Cartu denies

knowledge and information sufficient to respond to the remaining allegations in paragraph 55.

       56.      Cartu denies the allegations of paragraph 56 as it relates to Cartu. Cartu denies

knowledge and information sufficient to respond to the remaining allegations in paragraph 56.

       57.      Cartu denies knowledge and information sufficient to respond to the allegations in

paragraph 57.

       58.      Cartu denies the allegations of paragraph 58 as it relates to Cartu. Cartu denies

knowledge and information sufficient to respond to the remaining allegations in paragraph 58.

       59.      Cartu denies the allegations of paragraph 59 as it relates to Cartu. Cartu denies

knowledge and information sufficient to respond to the remaining allegations in paragraph 59.

C.     Operation of the Cartu Brands

       60.      Cartu denies the allegations of paragraph 60 as it relates to Cartu. Cartu denies

knowledge and information sufficient to respond to the remaining allegations in paragraph 60.



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       61.      Cartu denies the allegations of paragraph 61 as it relates to Cartu. Cartu denies

knowledge and information sufficient to respond to the remaining allegations in paragraph 61.

       62.      Cartu denies the allegations of paragraph 62 as it relates to Cartu. Cartu denies

knowledge and information sufficient to respond to the remaining allegations in paragraph 62.

       63.      Cartu denies knowledge and information sufficient to respond to the allegations in

paragraph 63.

       64.      Cartu denies the allegations of paragraph 64 as it relates to Cartu. Cartu denies

knowledge and information sufficient to respond to the remaining allegations in paragraph 64.

       65.      Cartu denies knowledge and information sufficient to respond to the allegations in

paragraph 65.

       66.      Cartu denies the allegations of paragraph 66 as it relates to Cartu. Cartu denies

knowledge and information sufficient to respond to the remaining allegations in paragraph 66.

       67.      Cartu denies the allegations of paragraph 67 as it relates to Cartu. Cartu denies

knowledge and information sufficient to respond to the remaining allegations in paragraph 67.

       68.      Denied.

       69.      Cartu denies knowledge and information sufficient to respond to the allegations in

paragraph 69.

       70.      Cartu denies the allegations of paragraph 70 as it relates to Cartu. Cartu denies

knowledge and information sufficient to respond to the remaining allegations in paragraph 70.

       71.      Cartu denies the allegations of paragraph 71 as it relates to Cartu. Cartu denies

knowledge and information sufficient to respond to the remaining allegations in paragraph 71.

       72.      Denied.




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       73.    Cartu denies the allegations of paragraph 73 as it relates to Cartu. Cartu denies

knowledge and information sufficient to respond to the remaining allegations in paragraph 73.

       74.    Cartu denies the allegations of paragraph 74 as it relates to Cartu. Cartu denies

knowledge and information sufficient to respond to the remaining allegations in paragraph 74.

       75.    Cartu denies the allegations of paragraph 75 as it relates to Cartu. Cartu denies

knowledge and information sufficient to respond to the remaining allegations in paragraph 75.

       76.    Cartu denies the allegations of paragraph 76 as it relates to Cartu. Cartu denies

knowledge and information sufficient to respond to the remaining allegations in paragraph 76.

       77.    Cartu denies the allegations of paragraph 77 as it relates to Cartu. Cartu denies

knowledge and information sufficient to respond to the remaining allegations in paragraph 77.

       78.    Cartu denies the allegations of paragraph 78 as it relates to Cartu. Cartu denies

knowledge and information sufficient to respond to the remaining allegations in paragraph 78.

       79.    Cartu denies the allegations of paragraph 79 as it relates to Cartu. Cartu denies

knowledge and information sufficient to respond to the remaining allegations in paragraph 79.

D.     Fraudulent Misrepresentation and Deception

       80.    Cartu denies the allegations of paragraph 80 as it relates to Cartu. Cartu denies

knowledge and information sufficient to respond to the remaining allegations in paragraph 80.

       81.    Cartu denies the allegations of paragraph 81 as it relates to Cartu. Cartu denies

knowledge and information sufficient to respond to the remaining allegations in paragraph 81.

       82.    Cartu denies the allegations of paragraph 82 as it relates to Cartu. Cartu denies

knowledge and information sufficient to respond to the remaining allegations in paragraph 82.

       83.    Cartu denies the allegations of paragraph 83 as it relates to Cartu. Cartu denies

knowledge and information sufficient to respond to the remaining allegations in paragraph 83.



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       84.      Cartu denies the allegations of paragraph 84 as it relates to Cartu. Cartu denies

knowledge and information sufficient to respond to the remaining allegations in paragraph 84.

       85.      Cartu denies the allegations of paragraph 85 as it relates to Cartu. Cartu denies

knowledge and information sufficient to respond to the remaining allegations in paragraph 85.

       86.      Cartu denies the allegations of paragraph 86 as it relates to Cartu. Cartu denies

knowledge and information sufficient to respond to the remaining allegations in paragraph 86.

E.     Cartu and Masten Developed the Cartu Platform

       87.      Cartu denies the allegations of paragraph 87 as it relates to Cartu. Cartu denies

knowledge and information sufficient to respond to the remaining allegations in paragraph 87.

       88.      Cartu denies the allegations of paragraph 88 as it relates to Cartu. Cartu denies

knowledge and information sufficient to respond to the remaining allegations in paragraph 88.

       89.      Cartu denies the allegations of paragraph 89 as it relates to Cartu. Cartu denies

knowledge and information sufficient to respond to the remaining allegations in paragraph 89.

       90.      Cartu denies the allegations of paragraph 90 as it relates to Cartu. Cartu denies

knowledge and information sufficient to respond to the remaining allegations in paragraph 90.

       91.      Cartu denies knowledge and information sufficient to respond to the allegations in

paragraph 91.

       92.      Cartu denies the allegations of paragraph 92 as it relates to Cartu. Cartu denies

knowledge and information sufficient to respond to the remaining allegations in paragraph 92.

       93.      Cartu denies the allegations of paragraph 93 as it relates to Cartu. Cartu denies

knowledge and information sufficient to respond to the remaining allegations in paragraph 93.

       94.      Cartu denies the allegations of paragraph 94 as it relates to Cartu. Cartu denies

knowledge and information sufficient to respond to the remaining allegations in paragraph 94.



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       95.    Cartu denies the allegations of paragraph 95 as it relates to Cartu. Cartu denies

knowledge and information sufficient to respond to the remaining allegations in paragraph 95.

       96.    Cartu denies the allegations of paragraph 96 as it relates to Cartu. Cartu denies

knowledge and information sufficient to respond to the remaining allegations in paragraph 96.

       97.    Cartu denies the allegations of paragraph 97 as it relates to Cartu. Cartu denies

knowledge and information sufficient to respond to the remaining allegations in paragraph 97.

       98.    Cartu denies the allegations of paragraph 98 as it relates to Cartu. Cartu denies

knowledge and information sufficient to respond to the remaining allegations in paragraph 98.

       99.    Cartu denies the allegations of paragraph 99 as it relates to Cartu. Cartu denies

knowledge and information sufficient to respond to the remaining allegations in paragraph 99.

       100.   Cartu denies the allegations of paragraph 100 as it relates to Cartu. Cartu denies

knowledge and information sufficient to respond to the remaining allegations in paragraph 100.

       101.   Cartu denies the allegations of paragraph 101 as it relates to Cartu. Cartu denies

knowledge and information sufficient to respond to the remaining allegations in paragraph 101.

       102.   Cartu denies the allegations of paragraph 102 as it relates to Cartu. Cartu denies

knowledge and information sufficient to respond to the remaining allegations in paragraph 102.

       103.   Cartu denies the allegations of paragraph 103 as it relates to Cartu. Cartu denies

knowledge and information sufficient to respond to the remaining allegations in paragraph 103.

       104.   Cartu denies the allegations of paragraph 104 as it relates to Cartu. Cartu denies

knowledge and information sufficient to respond to the remaining allegations in paragraph 104.




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                VI.   VIOLATIONS OF THE COMMODITY EXCHANGE ACT

                                           COUNT ONE
  Violations of Section 4c(b) of the Act, 7 U.S.C. § 6c(b), and Regulation 32.4, 17 C.F.R. §
                                          32.4 (2022)
                                     Commodity Options Fraud
  (Against Jonathan Cartu, Leeav Peretz, Nati Peretz, and Blue Moon Investments, Ltd.)
         105.    Cartu repeats, reiterates, and realleges his responses to the allegations set forth

above.

         106.    Cartu denies knowledge and information sufficient to respond to the allegations in

paragraph 106.

            a. Cartu denies knowledge and information sufficient to respond to the allegations in

                 paragraph 106(a).

            b. Cartu denies knowledge and information sufficient to respond to the allegations in

                 paragraph 106(b).

         107.    Cartu denies knowledge and information sufficient to respond to the allegations in

paragraph 107.

         108.    Cartu denies knowledge and information sufficient to respond to the allegations in

paragraph 108.

         109.    Cartu denies knowledge and information sufficient to respond to the allegations in

paragraph 109.




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                                           COUNT TWO

 Violations of Section 6(c)(1) of the Act, 7 U.S.C. § 9(1) and Regulation 180.1(a)(1)-(3), 17

                                    C.F.R. § 180.1(a)(1)-(3) (2022)

                            Fraud by Deceptive Device or Contrivance

  (Against Jonathan Cartu, Leeav Peretz, Nati Peretz, and Blue Moon Investments, Ltd.)

         110.    Cartu repeats, reiterates, and realleges his responses to the allegations as set forth

above.

         111.    Cartu denies knowledge and information sufficient to respond to the allegations in

paragraph 110.

         112.    Cartu denies knowledge and information sufficient to respond to the allegations in

paragraph 112.

            a. Cartu denies knowledge and information sufficient to respond to the allegations in

                 paragraph 112(a).

            b. Cartu denies knowledge and information sufficient to respond to the allegations in

                 paragraph 112(b).

            c. Cartu denies knowledge and information sufficient to respond to the allegations in

                 paragraph 11(c).

         113.    Cartu denies knowledge and information sufficient to respond to the allegations in

paragraph 113.

         114.    Cartu denies knowledge and information sufficient to respond to the allegations in

paragraph 114.

         115.    Cartu denies knowledge and information sufficient to respond to the allegations in

paragraph 115.



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         116.    Cartu denies knowledge and information sufficient to respond to the allegations in

paragraph 116.

                                          COUNT THREE

         Violations of Sections K4(3) and 4m(1) of the Act, 7 U.S.C. §§ 6k(3) and 6m(1)

                            Failure to Register as a CTA (BareIt) and
                        Failure to Register as an AP of the CTA (Masten)

         117.    Cartu repeats, reiterates, and realleges his responses to the allegations as set forth

above.

         118.    Cartu denies knowledge and information sufficient to respond to the allegations in

paragraph 118.

         119.    Cartu denies knowledge and information sufficient to respond to the allegations in

paragraph 119.

         120.    Cartu denies knowledge and information sufficient to respond to the allegations in

paragraph 120.

         121.    Cartu denies knowledge and information sufficient to respond to the allegations in

paragraph 121.

         122.    Cartu denies knowledge and information sufficient to respond to the allegations in

paragraph 122.

         123.    Cartu denies knowledge and information sufficient to respond to the allegations in

paragraph 123.




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                                           COUNT FOUR

  Violations of Section 4c(b) of the Act, 7 U.S.C. § 6c(b), and Regulation 32.2, 17 C.F.R. §
                                          32.2 (2022)

                             Illegal Off-Exchange Commodity Options

  (Against Jonathan Cartu, Leeav Peretz, Nati Peretz, and Blue Moon Investments, Ltd.)

         124.    Cartu repeats, reiterates, and realleges his responses to the allegations as set forth

above.

         125.    Cartu denies knowledge and information sufficient to respond to the allegations in

paragraph 125.

         126.    Cartu denies knowledge and information sufficient to respond to the allegations in

paragraph 126.

         127.    Cartu denies knowledge and information sufficient to respond to the allegations in

paragraph 127.

         128.    Cartu denies knowledge and information sufficient to respond to the allegations in

paragraph 128.

         129.    Cartu denies knowledge and information sufficient to respond to the allegations in

paragraph 129.

         130.    Cartu denies knowledge and information sufficient to respond to the allegations in

paragraph 130.

                                  VII.    RELIEF REQUESTED

         In response to the unnumbered WHEREFORE paragraph, Cartu denies that the CFTC is

entitled to recover any damages from Cartu or is entitled to any other form of relief from Cartu.

                                FIRST AFFIRMATIVE DEFENSE

         1.      The FAC fails to state a claim upon which relief may be granted.


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                             SECOND AFFIRMATIVE DEFENSE

        2.      The CFTC’s claims are barred, in whole or in part, by the lack of standing on the

part of the CFTC to assert those claims.

                              THIRD AFFIRMATIVE DEFENSE

        3.      The CFTC’s claims are barred, in whole or in part, by the applicable statutes of

limitations.

                             FOURTH AFFIRMATIVE DEFENSE

        4.      The CFTC’s claims are barred, in whole or in part, by the acts and omissions of the

CFTC and/or Cartu’s co-defendants.

                              FIFTH AFFIRMATIVE DEFENSE

        5.      The CFTC’s claims are barred, in whole or in part, by the doctrine of unclean hands.

                              SIXTH AFFIRMATIVE DEFENSE

        6.      The CFTC’s claims are barred, in whole or in part, by the doctrine of estoppel.

                            SEVENTH AFFIRMATIVE DEFENSE

        7.      The CFTC’s claims are barred, in whole or in part, by the doctrine of waiver.

                             EIGHTH AFFIRMATIVE DEFENSE

        8.      The CFTC’s claims are barred, in whole or in part, by the doctrine of laches.

                              NINTH AFFIRMATIVE DEFENSE

        9.      The CFTC’s claims are barred, in whole or in part, by the doctrine of accord and

satisfaction.

                              TENTH AFFIRMATIVE DEFENSE

        10.     The CFTC’s claims are barred, in whole or in part, because Cartu did not act at any

time with scienter.



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                           ELEVENTH AFFIRMATIVE DEFENSE

       11.      The CFTC’s claims are barred, in whole or in part, because none of the alleged

misrepresentations or omissions were material.

                            TWELFTH AFFIRMATIVE DEFENSE

       12.      The CFTC’s claims are barred, in whole or in part, because no investor reasonable

relied on the alleged misrepresentations or omissions.

                          THIRTEENTH AFFIRMATIVE DEFENSE

       13.      The CFTC’s claims are barred, in whole or in part, because the alleged

misrepresentations and omissions, if any, were made by third parties over whom Cartu had no

control.

                         FOURTEENTH AFFIRMATIVE DEFENSE

       14.      The CFTC’s claims are barred, in whole or in part, to the extent alleged transactions

occurred outside the United States or with non-United States residents.

                           FIFTEENTH AFFIRMATIVE DEFENSE

       15.      Cartu at all times acted in good faith and in the belief that his conduct conformed

with all applicable laws and regulations.

                           SIXTEENTH AFFIRMATIVE DEFENSE

       16.      The CFTC’s claims are barred, in whole or in part, because the alleged customer

losses, if any, were caused by events over which, or the actions or inactions of third parties over

whom, Cartu had no control.

                         SEVENTEENTH AFFIRMATIVE DEFENSE

       17.      The CFTC’s claims are barred, in whole or in part, to the extent alleged transactions

occurred outside the United States or with non-United States residents.



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                           EIGHTEENTH AFFIRMATIVE DEFENSE

       18.      Cartu reserves the right to assert additional affirmative defenses upon the

completion of discovery in this adversary proceeding.

       WHEREFORE, Cartu respectfully requests the Court to:

       a. Dismiss the FAC in its entirety, with prejudice;

       b. Deny each and every demand, claim, and prayer for relief contained in the FAC;

       c. Award Cartu the reasonable attorneys’ fees and costs they incur in defending this

             action; and

       d. Grant Cartu such other and further relief as the Court deems just and proper.

                                 DEMAND FOR JURY TRIAL

       Cartu hereby demands a jury trial pursuant to Rule 38 of the Federal Rules of Civil

Procedure as to all issues or claims for which a jury trial is allowed.



 Dated: October 23, 2023                            Respectfully submitted,

                                                    /s/ Joe Kendall
                                                    Joe Kendall

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                                                    Attorneys for Defendant Jonathan Cartu

                                                    /s/ David B. Harrison
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                                                    Eric H. Jaso (admitted pro hac vice)

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                                                    363 Bloomfield Avenue, Suite 2C
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                                                    Tel. 973-232-0881

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                                dharrison@shnlegal.com
                                ejaso@shnlegal.com
                                Attorneys for Defendant Jonathan Cartu




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                                CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing document was filed with the Court’s electronic

case filing (ECF) system on October 23, 2023, which caused an electronic copy of this document

to be served on all counsel of record in this matter who have registered for ECF service.

                                                     /s/ David B. Harrison
                                                     David B. Harrison




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